    23-11007-cgb Doc#140 Filed 10/07/24 Entered 10/07/24 15:23:08 Main Document Pg 1 of
                                             2
TRIAL/HEARING ON:

1-1) 88 Consent Stipulation and Motion to Dismiss Case filed by Mark D. Bloom for Debtor ArtiusID, Inc.

1-2) 94 Motion for Reconsideration filed by Ron Satija for Trustee Ron Satija (Related Document(s): 83 Order Abating
Proceedings (related document(s): 70 Motion for Rehearing and Reconsideration And Vacate The Order for Relief [D.E.
No. 62, or, in the alternative Motion For Stay Pending Appeal filed by Alexander D. Burch for Debtor ArtiusID, Inc.


1-3) 95 Application to Employ Hayward PLLC as Counsel for the Chapter 7 Trustee filed by Todd Brice Headden for
Trustee Ron Satija
                                        EXHIBIT INDEX AND WITNESS LIST



 ATTORNEY(s) FOR ARTIUSID, INC:      ALL OTHER ATTORNEYS (in the              Case Number:
                                     Courtroom):
 Mark Bloom, Mark Taylor                                                      23-11007-cgb
                                     Todd Headden, Lynn Butler, Jason
                                     Binford, Gary Wright                     Hearing/Trial Date(s):

                                                                              9/25/2024

 PRESIDING JUDGE                     COURT REPORTER                           COURTROOM DEPUTY

 Judge Christopher G. Bradley        Estella Jurado                           Ronda Farrar



 PLA       DEF/Resp      DATE            MARKED        ADMITTED         DESCRIPTION
 /Mov      NO.           OFFERRED
 NO.


                                                                        Witness 1: Michael Marcotte

                                                                        Witness 2: Dominic O’dierno



          TR-1           9/25/2024                     9/25/2024        Filed IOActive Proof of Claim

          TR-2           9/25/2024                     9/25/2024        Proposal to Provide Security Assessment
                                                                        Services – PID and Guardian dated April
                                                                        26, 2022

          TR-3           9/25/2024                     9/25/2024        Services Agreement dated with Effective
                                                                        Date May 2, 2022

          TR-4           9/25/2024                     9/25/2024        IOActive Invoice No. 7209

          TR-5           9/25/2024                     9/25/2024        IOActive Declaration



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                                            2
        TR-6        9/25/2024            9/25/2024   Skypoint communication and invoice,
                                                     ArtiusID-0000952

        TR-7        9/25/2024            9/25/2024   Skypoint invoice, ArtiusID-0000954

        TR-8        9/25/2024            9/25/2024   Harvest invoice, ArtiusID-0000129

        TR-9        9/25/2024            9/25/2024   Payment records, ArtiusID-0000131

        TR-10       9/25/2024            9/25/2024   Skypoint filed claim (Claim No. 3)

        TR-11       9/25/2024            9/25/2024   Rebuttal Exhibit admitted as stated on the
                                                     record




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